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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:06CR242
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )              TENTATIVE FINDINGS
                                            )
SHAWN B. BIGGS,                             )
                                            )
             Defendant.                     )


      The Court has received the Presentence Investigation Report (“PSR”) in this case.

The parties have not objected to the PSR. See Order on Sentencing Schedule, ¶ 6. The

government adopted the PSR. (Filing No. 71.) The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the sentencing guidelines are advisory.

      Although the government adopted the PSR and the Defendant has not objected to

the PSR, the Court notes that the PSR contemplates a higher drug quantity than the

quantity agreed upon by the parties in the plea agreement. The discrepancy will be

discussed at the sentencing hearing. The Court’s tentative finding is that the amount

reflected in the plea agreement that could be proved beyond a reasonable doubt should

be upheld.

      IT IS ORDERED:

      1.     The Court’s tentative findings are that the PSR should be amended to reflect

the drug quantity that appears in the plea agreement;

      2.     The PSR is correct in all other respects;

      3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion
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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 2nd day of April, 2007.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge




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